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Prospectus supplement dated July 27, 2006 (to prospectus dated April 21, 2006)

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$1,682,386,000
(Approximate)

| AMERICAN HOME MORTGAGE

b

American Home Mortgage Assets Trust 2006-3
, Issuing Entity

American Home Mortgage Servicing, Inc.
Servicer

American Home Mortgage Corp.
Sponsor

American Home Mortgage Assets LLC
Depositor

American Home Mortgage Assets Trust 2006-3,

Mortgage-Backed Pass-Through Certificates, Series 2006-3

| You should consider carefully the risk factors beginning on page S-16 in this prospectus supplement. |

The Trust

The trust will consist primarily of a pool of adjustable-rate raortgage loans which may be subject to negative
amortization, divided into three loan groups. The trust will issue twenty-six classes of certificates, twenty-two of which are
offered under this prospectus supplement.

Credit Enhancement
The offered certificates will have credit enhancement in the form of:

¢ subordination provided to the group I, group II and group III senior certificates by the Class M Certificates,
and provided to the Class M Certificates by each cluss of Class M Certificates with a tower payment
priority; and

* excess interest and overcollateralization.

The LIBOR certificates, other than the Class II-A-I-! Certificat 2s, will also have the benefit of a cap contract.

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LEGAL INVESTMENT

ERISA CONSIDERATIONS
ERISA Considerations While the Swap Account is in Existence
ERISA Considerations After Termination of the Swap Account

Exhibit lo0g

GLOSSARY

ANNEX I

SCHEDULE A

SUMMARY OF PROSPECTUS S JPPLEMENT

The following summary is a brief description of the important features of the certificates and does not contain all of
the information that you should consider in making your investment decision. To understand all of the terms of the offered
certificates, read carefully this entire prospectus supplement and the entiie accompanying prospectus. A glossary is included
at the end of this prospectus supplement. Capitalized terms used but not Jefined in the glossary at the end of this prospectus
supplement have the meanings assigned to them in the glossary at the end of the accompanying prospectus.

Issuing Entity
Title of Series
Cut-off Date
Closing Date
Depositor
Sponsor
Originator
Master Servicer
Servicer
Trustee
Custodian

Swap Provider

Cap Counterparty

LPMI Insurer

Distribution Dates

American Home Mortgag:2 Assets Trust 2006-3.
Mortgage-Backed Pass-Through Certificates, Series 2006-3.
July 1, 2006.

On or about July 28, 2006.

American Home Mortgag2 Assets LLC.

American Home Mortgag2 Corp.

American Home Mortgag? Investment Corp., or an affiliate thereof.
Wells Fargo Bank, N.A.

American Home Mortgag2 Servicing, Inc.

Citibank, N.A.

Deutsche Bank National Trust Company.

Deutsche Bank AG.

Swiss Re Financial Produ :ts Corporation.

Triad Guaranty Insurance Corporation .

Distributions on the offer:d certificates will be made on the 25th day of each
month, or, if such day is 10t a business day, on the next succeeding business

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EY hi bit 10 Cc
Mortgagors
Ioan
originate peyments
loans -
t
amour
American Home Mortgage financed American Home Mortgage
Investment Corp. (or an Servicing, Inc.
affiliate thereof) Servicer
Originator
. loan payments and
mthh rts
purchase Inan purchase ro
loans price Wells Fargo Bank, NA.
¥ Master Servicer
American Home Mortgage Aggregates collections
Corp. t
Sponsor Meet.
Purchases loans swiss Re crank NA
orms Financial atustet
Forms pool Products r* Calculates cashflow
a roducts Remits to investors
asset pool net offering Corporation Represents investors interests
proceeds . t
r net offenng :
American Home Mortgage proceeds Deutsche Bank Securities
Assets LLC Underwriter
Depositor > Sells certificates to investors
Creates issuing entity certificates
asset * certificates offen
pool &
¥ proceeds
American Home Mortgage
Assets Trust 2006-3
Issuing entity
Holds pool, Issues certificates .
De.tsche Bank Nanonal Trust Company
Custodian
Holds mortgage loans
Deutsche Bank AG
Swap Provider
. 4
Class IE-&-1-1 interest I
Class If]-4-1-1
vale swap payments Interest Rate Swap .
~ Payments certificates
Grantor Trustee, on behalf of +
the Issuing Entity Inve sters

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CaS 07-T1047-853" DRESSES HRY TY Page 4 of 4

Lender: American Brokers Conduit
225 Town Park Drive, Suite 450
Kennesaw, GA 30144
NOTICE TO FIRST LIEN MORTGAGE LOAN APPLICANTS: THE RIGHT TO coLLecT vou
MORTGAGE LOAN PAYMENTS MAY BE TRANSFERRED. FEDERAL LAW GIVES YOU RT OAN
RELATED RIGHTS. IF YOUR LOAN IS MADE, SAVE THIS STATEMENT WITH YOU.
DOCUMENTS. SIGN THE ACKNOWLEDGMENT AT THE END OF THIS STATEMENT ONLY {IF YOU
UNDERSTAND ITS CONTENTS.
Because you are spplying foc a mortgage loan covered by the Real Estate Settlement Procedures Act
(RESPA) (12 U.S.C, Section 2601 ct seq.) you have certain rights under that Federal law. . .
This statement tells you about those rights. It also tells you what the chances are that the servicing for this loan may
be transferred to a different loan servicer. *’ Servicing’ refers to collecting your principal, interest and escrow account
payments, if any. If your fosn servicer changes, there are certain procedures that must be followed. This statement
generally explains those procedures.
Traasfer Practices and Requirements . . : .
If the servicing of your loan is assigned, sold, or transferred to a new servicer, you must be given written notice of that
transfer. The present loan servicer must send you notice in writing of the assignment, sale or transfer of the servicing not
less than 15 days before the effective date of the transfer. The new loan servicer must also send you notice within 15
days after the effective date of the transfer. The present servicer and the new servicer may combine this information in one
notice, so long as the notice is sent to you 15 days before the effective date of transfer. The 15 day period is not spplicable
if a notice of prospective transfer is provided to you at settlement. The law allows a delay in the time (not more than 30
days after a transfer) for servicers to notify you, upon the occurrence of certain business emergencies. .
Notices must contain certain information. They must contain the effective date of the transfer of the servicing of your
Joan to the new servicer, and the name, address, and toll-free or collect call telephone number of the new servicer, and
toll-free or collect call telephone numbers of a person or department for both your present servicer and your new servicer
to answer your questions. During the 60-day period following the effective date of the transfer of the loan servicing, a loan
payment received by your old servicer before its due date may not be treated by the new loan servicer as late, and x bnte
fee may not be imposed on you.

Complaint Resolution et
Section 6 of RESPA (12 U.S.C. Section 2605) gives you certain consumer rights, whether or not your loon servicing bs

fronsferred. If you send a ** qualified written request’ to your servicer, must provide you with a written

acknow! within 20 Business Days of receipt of your request. A ‘qualified request’ is a written

c other than notice on a pay pon or other pay di plied servicer, which

includes your name and account number, and the information regarding your request. Not later than 60 Business Days

after receiving your request, your servicer must make any inte corrections to account, or must provide you

A_ Business Day is eny day in which the offices of the business entity are open to the public for carrying on
bstantially all of is bust Funcis

Damages and Costs sue oe
6 of RESPA also provides for damages and costs for individuals or classes of individuals in circurnstances
where servicers are shown to have violated the requi of that Secti
Servicing Transfer Estimates
1, The following is the best estimate of what will happen to the servicing of your mortgage loan:
[2] We may assign, sell or transfer the servicing of your Joan while the loan is outstanding. © We m.able to service
your loan andwe wit [Cahinnot [Xihven’t decided whether to service your oan.

OR
[7] We do not service mortgage loans, (and we have not serviced mortgage loans in the past three years. We oO
presently intead to assign, self or transfer the servicing of your mortgage loan. You will be informed about your servicer.
[] We assign, sell or transfer the servicing of some of our fons while the loan is outstanding depending on the type of
joan and other factors. For the program you have applied for, we expect to:

sell all of the mortgage servicing in all of the mortgage servicing

assign, sell or transfer % of the mortgage servicing
2 For all the first lien mortgage loans that we make in the 12-month period after your mortgage loan is funded, we
i that the percentage of mortgage loans for which we will transfer servicing is:

[0 to 25%] or [NONE] 26 wm 50% —X 51m 75% [76 to 100%] or [ALL]

This estimate [oddes [aides not i tude assign sales or fers to affiliates or subsidiaries. This is only our
best estimate and it is not binding. Business conditions or other circumstances may affect our future transferring
decisions,

3. []we have previously assigned, sold, or transferred the servicing of federally related mortgage loans,

[X] This is our record of transferring the servicing of the first lien mortgage loans we have made in the past:

Year Percentage of Loans Transferred (Rounded to nearest quartile - 0%, 25%, 50%, 75%, or 100%)
2003 75%-100% % .

2004 50%-75% % :

2005 50%-75% %
This information not include sssignments, sales or transfers to affiliates or subsidiaries,

June 28, 2006 American Brokers Conduit

Date Present Servicer or Lender
ACKNOWLEDGMENT OF MORTGAGE LOAN APPLICANT
I/We have read this disclosure form, and understand its contents, 23 evidenced by my/our signature(s)

below. I/We understand that this acknowledgment is a required part of the mortgage loan application.
" ( [
Maacern fh— Nhy,
Appican Hussain Kareem Date Applicant Dare
Applicant Date Applicant Date

wWO1 502.63

A DOC #:64302
nw “S52R 900) APPL #:0001350490 MP MORTGAGE FORMS - (R00;521-7291 12194

